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                                                         UNITED STATES DISTRICT COURT
                                                         SOUTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA,                             CASE NO: 04-20159-CR-GOLD

                          Plaintiff,

   VS.

   JOSE BATTLE, et al

                          Defendant.
                                                  /



                                      ORDER AFFIRMING
                               MAGISTRATE JUDGE’S ORDER DE 2845

          On November 20, 2008, this matter came for hearing pursuant to this Court’s order setting

   hearing on objections to Magistrate Judge’s Order [2845] on the following motions:

          1) Objections filed by Petitioners Harold Marchena, Jose Mendez to Magistrate Judge’s order

   [DE 2885].
          After a de novo review of all of the submissions of the parties and the record in this case, it

   is hereby

          ORDERED AND ADJUDGED as follow:

          1) This Court hereby adopts and affirms, as amended slightly, the Chief Magistrate Judge’s

   Order at Docket Entry 2845, along with all of its findings of fact and conclusions of law, for the

   reasons stated of record.

          DONE AND ORDERED at Miami, Florida, this              20th    day of November, 2008.




                                                         UNITED STATES DISTRICT JUDGE
                                                         ALAN S. GOLD



   cc:    Chief Magistrate Judge Bandstra
          Counsel of Record
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